 $2 5HY 6XPPRQVLQD&LYLO$FWLRQ0,:' 5HY
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 4 filed 08/23/19 PageID.35 Page 1 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                  &DVH1R 1:19-cv-00670
                                                                                                                  +RQ Robert J. Jonker
                                                                                                    72 State Bar of Michigan
                                    Y
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                          $''5(66 Michael Franck Building
                                                                                                            306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                           Lansing, MI 48933
                       W. Heath


                                                                                                      3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
  $ODZVXLWKDVEHHQILOHGDJDLQVW\RX                                                                Derk A. Wilcox (P66177)
                                                                                                        Mackinac Center Legal Foundation
  <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH                                                      140 West Main Street
  XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                       Midland, MI 48640
  XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
  GD\VDIWHUVHUYLFHRIWKLVVXP
    21                                         PRQVRQ\ RX QRW                                      &/(5.2)&2857
  FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
  MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
  GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
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                                                      State     Bar of Michigan                                      ZDVUHFHLYHGE\PHRQ                                                                  
                                               QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                               GDWH


   ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
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    ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                                          DSHUVRQ
                                                                                                                             QDPH

  RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                          DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                               GDWH


    ,VHUYHGWKHVXPPRQVRQ                                                                                                   ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                     RQ                                                               
                                                                              QDPHRIRUJDQL]DWLRQ                                                                GDWH


    ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                                                
    2WKHU (specify)                                                                                                                                                                                         

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  ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
  'DWH
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  $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
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                      Case 1:19-cv-00670-RJJ-PJG ECF No. 4 filed 08/23/19 PageID.36 Page 2 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                 &DVH1R 1:19-cv-00670
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                                                                                                       Mackinac Center Legal Foundation
  <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH                                                     140 West Main Street
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    21                                         PRQVRQ\ RX QRW                                     &/(5.2)&2857
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  7KLVVXPPRQVIRU                                   
                                                      Jennifer       M. Grieco                                      ZDVUHFHLYHGE\PHRQ                                                                  
                                               QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


   ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
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    ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                                         DSHUVRQ
                                                                                                                            QDPH

  RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                            GDWH


    ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                                               
                                                                              QDPHRIRUJDQL]DWLRQ                                                               GDWH


    ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                                               
    2WKHU (specify)                                                                                                                                                                                        

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  ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
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  $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
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                      Case 1:19-cv-00670-RJJ-PJG ECF No. 4 filed 08/23/19 PageID.37 Page 3 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                 &DVH1R 1:19-cv-00670
                                                                                                                 +RQ Robert J. Jonker
                                                                                                72 Dennis M. Barnes
                                    Y
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                      $''5(66 Michael Franck Building
                                                                                                           306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                          Lansing, MI 48933
                       W. Heath


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  $ODZVXLWKDVEHHQILOHGDJDLQVW\RX                                                               Derk A. Wilcox (P66177)
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  <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH                                                     140 West Main Street
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             GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
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  7KLVVXPPRQVIRU                                   
                                                      Dennis M. Barnes                                              ZDVUHFHLYHGE\PHRQ                                                                  
                                               QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


   ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
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    ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                                         DSHUVRQ
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  RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
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    ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                                               
                                                                              QDPHRIRUJDQL]DWLRQ                                                               GDWH


    ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                                               
    2WKHU (specify)                                                                                                                                                                                        

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                      Case 1:19-cv-00670-RJJ-PJG ECF No. 4 filed 08/23/19 PageID.38 Page 4 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
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                                                      Robert J. Buchanan                                            ZDVUHFHLYHGE\PHRQ                                                                  
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    ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                                               
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    21                                         PRQVRQ\ RX QRW                                     &/(5.2)&2857
  FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
  MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
  GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
  RUPRWLRQZLWKWKH&RXUW
  7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

  )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
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  )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,

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                                                                                                       %\'HSXW\&OHUN                                                             'DWH


                                                                                      PROOF OF SERVICE
  7KLVVXPPRQVIRU                                    
                                                       Dana M. Warnez                                               ZDVUHFHLYHGE\PHRQ                                                                  
                                               QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


   ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                            SODFHZKHUHVHUYHG
  RQ
                         GDWH


    ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                                         DSHUVRQ
                                                                                                                            QDPH

  RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                            GDWH


    ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                                               
                                                                              QDPHRIRUJDQL]DWLRQ                                                               GDWH


    ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                                               
    2WKHU (specify)                                                                                                                                                                                        

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  ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
  'DWH
                                                                                                                                      Server’s signature

  $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                               Server’s printed name and title



                                                                                                                                    Server’s address
 $2 5HY 6XPPRQVLQD&LYLO$FWLRQ0,:' 5HY
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 4 filed 08/23/19 PageID.40 Page 6 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                 &DVH1R 1:19-cv-00670
                                                                                                                 +RQ Robert J. Jonker
                                                                                                72 James W. Heath
                                    Y
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                      $''5(66 Michael Franck Building
                                                                                                           306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                          Lansing, MI 48933
                       W. Heath


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  $ODZVXLWKDVEHHQILOHGDJDLQVW\RX                                                               Derk A. Wilcox (P66177)
                                                                                                       Mackinac Center Legal Foundation
  <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH                                                     140 West Main Street
  XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Midland, MI 48640
  XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
  GD\VDIWHUVHUYLFHRIWKLVVXP
    21                                         PRQVRQ\ RX QRW                                     &/(5.2)&2857
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  MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
  GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
  RUPRWLRQZLWKWKH&RXUW
  7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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                                                                                                       %\'HSXW\&OHUN                                                             'DWH


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  7KLVVXPPRQVIRU                                    
                                                       James W. Heath                                               ZDVUHFHLYHGE\PHRQ                                                                  
                                               QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


   ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                            SODFHZKHUHVHUYHG
  RQ
                         GDWH


    ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                                         DSHUVRQ
                                                                                                                            QDPH

  RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                            GDWH


    ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                              QDPHRILQGLYLGXDO

  RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                                               
                                                                              QDPHRIRUJDQL]DWLRQ                                                               GDWH


    ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                                               
    2WKHU (specify)                                                                                                                                                                                        

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  ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
  'DWH
                                                                                                                                      Server’s signature

  $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                               Server’s printed name and title



                                                                                                                                    Server’s address
